                   Case 2:20-cv-00887-RAJ Document 53 Filed 07/27/20 Page 1 of 5




 1                                                            THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                          No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                              DECLARATION OF DUSTY BAKER IN
     KYASHNA-TOCHA, ALEXANDER                             SUPPORT OF PLAINTIFFS’ MOTION FOR
11   WOLDEAB, NATHALIE GRAHAM,                            CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16

17
              I, Dusty Baker, declare and state as follows:
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              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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              2.       I have lived in Seattle for about four years. I chose Seattle in part because of the
21
     strong queer community and progressive movement. I am non-binary and use they/them
22
     pronouns.
23
              3.       I have been out protesting to defend Black lives and oppose racist police brutality
24
     since the killing of George Floyd. I have seen many people show up to protest who never
25
     protested before. The folks I have marched with in Seattle give me hope for positive change.
26

      BAKER DECL. ISO MOT. FOR                                                      Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                    1201 Third Avenue, Suite 4900
                                                                               Seattle, WA 98101-3099
                                                                                 Phone: 206.359.8000
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 1            4.       As a member of the queer community, which has also historically been victimized
 2   by police brutality, I am terrified of police violence every time I go out and protest. But I’m also
 3   terrified when I am not there, because I feel like I have to be part of the fight against police
 4   brutality. This feels like a “now or never” moment to demand change.
 5            5.       On Saturday, July 25, 2020, I arrived around 2 p.m. to Broadway and East Pine
 6   Street to join a march for solidarity with the protesters in Portland who were met with horrific
 7   and scary violence by federal agents.
 8            6.       Our group had protesters of all ages from many different backgrounds. We held a
 9   rally, and some people led trainings on how to keep each other safe.
10            7.       At approximately 3 p.m., we started marching around the neighborhood. We were
11   chanting “Black Lives Matter” and our five demands for police reform. The crowd was
12   energized and excited.
13            8.       At no point did I see anyone in our march do anything violent or illegal.
14            9.       I was not in the front of the protest, but I could see the front.
15            10.      As we turned left at a corner near the East Precinct, we saw a line of police in
16   sand-colored military uniforms with rifles coming down the hill, rushing towards us from the
17   side, trying to split the group in half.
18            11.      There was no warning at all before the police rushed us. We had not done
19   anything to provoke them. It felt like an ambush.
20            12.      We yelled to warn the protesters behind us that the police were charging.
21            13.      The Seattle Police Department (“SPD”) started rolling and throwing flash bang
22   grenades into the crowd.
23            14.      Protesters started screaming in terror and running.
24            15.      Several lines of protesters behind me were attacked. I avoided getting hit at the
25   time because my part of the march had already turned the corner before the police arrived.
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 1            16.      Our group had been separated from the rest of the march, so we paused at Cal
 2   Anderson Park to regroup for a while. Some protesters left. I went back to join the other
 3   protesters.
 4            17.      A pattern started where a line of police would suddenly—without any warning or
 5   apparent reason—start to advance on the protesters, and push us back, accompanied by a large
 6   armored vehicle (a Bearcat) with an officer sticking up out of the hatch, pointing a rifle at us
 7   from the top of the vehicle. We would move back, and the police would eventually stop, reverse
 8   their armored vehicle, and retreat. Eventually protesters would fill in the space the police had left
 9   behind. Then the police would randomly start advancing on protesters again.
10            18.      The police advances seemed entirely unprovoked. Sometimes protesters were just
11   sitting in the street, peacefully demonstrating, when police rushed in at us.
12            19.      Every time the police advanced on us, they would start rolling canisters dispersing
13   gas every 10 seconds or so. Police were throwing flash bang grenades constantly. It felt like one
14   exploded just about every second.
15            20.      They were not responding to any individuals threats of violence—they were
16   targeting peaceful protesters.
17            21.      Police were also constantly releasing cans of colored smoke that stained people’s
18   clothing and bodies.
19            22.      At some point, people yelled “moms to the front” and a “Wall of Moms”—a
20   group of mothers clearly wearing yellow shirts (in solidarity with the Wall of Moms in Portland),
21   marching with linked arms—moved towards the police.
22            23.      I watched SPD use hand-held pepper spray to mace the Wall of Moms as they
23   moved to the front of the crowd.
24            24.      Right after Wall of Moms was maced, SPD pushed the protest all the way down
25   back to East Pine Street and Harvard Avenue, crowding everyone into a small street. SPD
26

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 1   basically trapped us so we could not disperse. We were packed in extremely tightly with
 2   nowhere to go.
 3            25.      After the police created this bottleneck, they started grabbing people and arresting
 4   them, and throwing flash bang grenades overhand into the crowd, indiscriminately.
 5            26.      I saw at least two flash bangs detonate in the air right near someone’s head.
 6            27.      I was almost hit with shrapnel from a round metal canister with orange labels that
 7   exploded right by someone’s face.
 8            28.      Police were also using guns to fire what I believe were pepper balls at the front
 9   line of protesters as we were retreating.
10            29.      SPD also released more canisters of gas, some of which got on me. The gas
11   burned when I breathed. I am glad that I had goggles on to protect my eyes.
12            30.      Because of the wind direction, a lot of the gas floated away from the protest,
13   towards nearby homes on Harvard Avenue where people had their windows open on a beautiful
14   day. We yelled at these neighbors to close their windows so they didn’t choke on the chemicals
15   floating towards them.
16            31.      The police never gave us any warnings before advancing on us or using weapons
17   against us.
18            32.      No one in our group was being violent.
19            33.      I read the Seattle Police Department’s Tweets about alleged protester misconduct.
20   I can’t believe they are describing the same event I was at. It seems like they declared our march
21   a “riot” before they even came into contact with us.
22

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              Executed this 27th day of July 2020 at SEATTLE, WASHINGTON.
25

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 1            I declare under penalty of perjury under the laws of the United States and the State of
 2   Washington that the foregoing is true and correct.
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 4                                                                    By:_________________________
 5                                                                                      DUSTY BAKER
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